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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


  SPEC’S FAMILY PARTNERS, LIMITED,                   )
                                                     )
         Plaintiff,                                  )
                                                     )     Case No. 2:14-cv-2995-JPM-cgc
  v.                                                 )
                                                     )
  FIRST DATA MERCHANT SERVICES LLC,                  )
                                                     )
         Defendant.                                  )
                                                     )
                                                     )


                                         JUDGMENT



 JUDGMENT BY COURT. This action having come before the Court on Plaintiff Spec’s
 Family Partners, Limited’s (“Plaintiff”) Motion for Entry of Judgment, filed on August 4,
 2017 (ECF No. 150), the Court having entered an Order Granting in Part and Denying in Part
 Plaintiff’s Motion for Entry of Judgment (ECF No. 172), and the parties having filed a Joint
 Calculation of Judgment (ECF No. 174),

 IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance with
 the Order Granting in Part and Denying in Part Plaintiff’s Motion for Entry of Judgment,
 Plaintiff is hereby awarded a total of $7,609,062.21, increasing by $1,302.92 per day after the
 date this Judgment is entered. This action is hereby DISMISSED.


 APPROVED:

  /s/ Jon P. McCalla
 JON P. McCALLA
 UNITED STATES DISTRICT COURT JUDGE

  January 31, 2018
 Date
